      Case 4:20-cv-05640-YGR          Document 1501        Filed 04/29/25      Page 1 of 4




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, produced to Epic in redacted form on April 21, 2025. We are
submitting these documents for in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
      Case 4:20-cv-05640-YGR           Document 1501         Filed 04/29/25      Page 2 of 4




Emails Relating to Legal Advice: PRIV-APL-EG_00187140, PRIV-APL-EG_00187176,
PRIV-APL-EG_00190120

         PRIV-APL-EG_00187140 is an email from one non-lawyer to another non-lawyer—both
of whom work in communications—attaching several documents. The redacted paragraph at the
top of the email describes a document put together for a “litigation summit” in the prior year.
Regardless of whether the document was drafted by or circulated among communications
personnel, it was produced in connection with the provision of legal advice regarding ongoing
litigation matters and a description of its contents is therefore privileged. See FTC v. Boehringer
Ingelheim Pharms., Inc., 180 F. Supp. 3d 1, 30 (D.D.C. 2016).

       PRIV-APL-EG_00187176 is an email concerning a request for comment from a journalist
regarding this litigation. The redacted content, sent from one non-lawyer to another non-lawyer,
references a forthcoming request for legal advice. Because the redacted message contains
information intended to be shared with counsel for legal advice, it is privileged. See In re Meta
Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024).

        PRIV-APL-EG_00190120 is an email chain, the unredacted portion of which contains an
exchange between non-lawyers regarding preparations for press communications. The redacted
portion consists entirely of two emails from Sean Cameron (in-house counsel). In those emails,
Mr. Cameron provides an update solicited by the “litigation team” relevant to certain changes to
the App Store guidelines in the United States. The redacted portion is thus prepared at the direction
of counsel for the purpose of aiding the provision of legal advice, see Boehringer Ingelheim
Pharms., Inc., 180 F. Supp. 3d at 30, and is also itself legal advice from in-house counsel, United
States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002). The redacted
portion is privileged.




                                                 2
     Case 4:20-cv-05640-YGR          Document 1501        Filed 04/29/25     Page 3 of 4




Messages Relating to Legal Advice: PRIV-APL-EG_00192065

       PRIV-APL-EG_00192065 is a text message chain between two non-lawyers discussing the
tax implications of various App Store changes and policies. The redacted message is a statement
relaying express advice regarding tax treatment of certain App Store policies. The following
(unredacted) message indicates that the advice was provided by counsel. A communication
between two non-lawyers regarding legal advice received from an attorney in a separate
communication is privileged and is therefore properly redacted. See Dolby Lab’ys Licensing Corp.
v. Adobe Inc., 402 F. Supp. 3d 855, 866 (N.D. Cal. 2019); Chrimar Sys. Inc. v. Cisco Sys. Inc.,
2016 WL 1595785, at *3 (N.D. Cal. Apr. 21, 2016).




                                               3
    Case 4:20-cv-05640-YGR   Document 1501      Filed 04/29/25   Page 4 of 4




DATED: April 29, 2025                   WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




                                    4
